                       UNITED STATES COURT OF APPEALS
                              FOR THE THIRD CIRCUIT
                                   ________________
                                      No. 20-2562
                                   ________________

                              JACKSON NJAI NDUNGU,
                                               Petitioner
                                       v.
              ATTORNEY GENERAL UNITED STATES OF AMERICA
                                 On Petition for Review
                 from the Decision of the Board of Immigration Appeals
                                    (A059 942 954)

       PRESENT: CHAGARES, Chief Judge, JORDAN, HARDIMAN, SHWARTZ,
       KRAUSE, RESTREPO, BIBAS, PORTER, MATEY, PHIPPS, FREEMAN,
       MONTGOMERY-REEVES, CHUNG, and ROTH, Circuit Judges


                  ORDER SUA SPONTE REHEARING EN BANC


       A majority of the active judges who are not disqualified in the above captioned
case have determined that the case should be considered by the en banc court. In
accordance with 3rd Cir. I.O.P. 9.4.1, the Court sua sponte orders rehearing en banc in the
above captioned case. Argument is scheduled for Wednesday, October 9, 2024 in
Philadelphia.1
                                                 By the Court,


                                                 s/ Michael A. Chagares
                                                 Chief Judge
Date: May 8, 2024
Sb/cc: All Counsel of Record

1
 The Honorable Jane R. Roth has elected to participate as a member of the en banc court
pursuant to 3rd Cir. I.O.P. 9.6.4.
